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 DNJ-Civ-017 (09/2016)




                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY



     WILLIAM D.            JOYCE,    ST AL
                                                         Civil Action No.         16-7205
     Plaintiff,

     v.                                                ORDER OF DISMISSAL


     SETERUS,            INC.,    ST AL

     Defendant.



          This matter having been reported settled and the Court

having administratively terminated the action for sixty                                 (60)

days      so that the parties                could submit the papers necessary to

terminate the case,                  see Fed.   R.   Civ.   P.    41(a) (1) (A) (ii),   L.     Civ.

R.    41.1,       and the sixty-day time period having passed without the

Court having received the necessary papers;

          IT IS on this               28th      day of      NOVEMBER,      2018

          ORDERED that the Clerk of the Court shall reopen the case

and make a new and separate docket entry reading “CIVIL CASE

REOPENED”;               and it    is further

          ORDERED that this matter be,                 and the      same hereby is,

DISMISSED WITH PREJUDICE,                    and without costs pursuant to Fed.                 R.

Civ.      P.   41(a) (2)



                                                                 INARES,   CHIEF U.S.D.J.
